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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                         Case No. 1:19-cv-23100-GAYLES/OTAZO-REYES
    COÖPERATIEVE RABOBANK U.A., New York
    Branch, BROWN BROTHERS HARRIMAN &
    CO., BANK HAPOALIM B.M.; MITSUBISHI
    INTERNATIONAL CORPORATION, ICBC
    STANDARD BANK PLC, TECHEMET METAL
    TRADING, LLC, WOODFOREST NATIONAL
    BANK, and HAIN INVESTORS MASTER FUND,
    LTD.,
                   PLAINTIFFS,
    vs.
    CROWE LLP,
                   DEFENDANT.


    PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF ABSTENTION AND REMAND

          Coöperatieve Rabobank U.A., New York Branch, Brown Brothers Harriman & Co.; Bank

   Hapoalim B.M., Mitsubishi International Corporation, ICBC Standard Bank Plc, Techemet

   Metal Trading, LLC, Woodforest National Bank, and Hain Investors Master Fund, Ltd.

   (collectively, the “Lenders”), submit this memorandum of law in support of their motion for the

   Court to abstain from exercising jurisdiction under 28 U.S.C. § 1334(c) and to remand the case

   pursuant to 28 U.S.C. § 1447(c) and § 1452(b).

                                       I.     INTRODUCTION

          This is an action for damages suffered by Lenders in reliance on defendant Crowe LLP’s

   grossly negligent audit of the 2014 and 2015 financial statements of Republic Metals

   Corporation (“Republic”), which resulted in damages to Lenders in excess of $57 million. On

   June 24, 2019, Lenders sued Crowe for negligence, gross negligence, and for violating Florida’s

   Deceptive and Unfair Trade Practices Act in the Circuit Court of the 11th Judicial Circuit in and

   for Miami-Dade County, Florida, which is the county in which the audit work was performed by
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   Crowe’s Miami office (assisted by its Fort Lauderdale office) and where Republic maintained a

   principal office. Crowe does not dispute the jurisdiction or venue of the state court.

           Crowe removed the case pursuant to 28 U.S.C. §§ 1441, 1446, 1453 (“Removal of claims

   related to bankruptcy cases”), claiming subject matter jurisdiction under 28 U.S.C. §§ 1334(b)

   and 1452 primarily and 28 U.S.C. § 1367 for supplemental jurisdiction. Although it is arguable

   whether this case is sufficiently “related to” the Republic Bankruptcy (In re Republic Metals

   Corporation, Case No. 18-13359 (Bankr. S.D.N.Y.)), Lenders do not contest removal or subject

   matter jurisdiction.

           Even assuming that removal was correct and subject matter jurisdiction exists, the Court

   must, nevertheless, abstain from exercising jurisdiction, under 28 U.S.C. § 1334(c)(2), and

   remand the case, under 28 U.S.C. § 1447(c) and § 1452(b). The reason is straightforward: First,

   the Court’s subject matter jurisdiction under 28 U.S.C. § 1334(b) is original, but non-exclusive.

   Second, § 1334(c)(2) requires mandatory abstention if, upon timely motion of a party, the

   following conditions are met, (i) that the cause of actions are under state law; (ii) that they “relate

   to” a pending bankruptcy action, but do not “arise under” title 11; (iii) that no other independent

   basis for federal subject matter jurisdiction exists, i.e., diversity; and (iv) that the claims can be

   timely adjudicated in state court. All these conditions are satisfied.

           Because abstention is mandatory, the Court need not consider permissive abstention

   under § 1334(c)(1). But abstention under that provision is also justified.

                                           II.     ARGUMENT

           The single issue presented by this abstention and remand motion is whether the Court is

   required or should, in its discretion, abstain from exercising subject matter jurisdiction over this




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   case pursuant to 28 U.S.C. § 1334(c).1 According to Professor Moore, “Abstention doctrines are

   properly understood as limiting federal courts’ adjudication of cases over which they have

   subject matter jurisdiction.” 17A Moore's Federal Practice - Civil § 122.01 (2019).

           A.        Mandatory Abstention.

           A federal district court has concurrent but not exclusive jurisdiction over cases “arising in

   or related to cases under title 11.” 28 U.S.C. § 1334(b) (“the district courts shall have original but

   not exclusive jurisdiction of all cases under title 11”); In re Brady Mun. Gas Corp., 936 F.2d

   212, 218 (5th Cir. 1991). When a case is concurrently or previously pending (now removed) in

   state court, a federal district court may abstain from exercising jurisdiction in its discretion under

   § 1334(c)(1). But abstention is mandatory if the conditions under § 1334(c)(2) are met. They are

   as follows:

                    The proceeding is based on a state-law claim or cause of action;

                    The proceeding is related to a bankruptcy case but did not arise in a bankruptcy

                     case or under the Bankruptcy Code;

                    The only basis of original federal jurisdiction is the proceeding’s relation to a

                     bankruptcy case;

                    An action on the claim or cause of action is commenced in a state forum of

                     appropriate jurisdiction and can be timely adjudicated in that forum; and

                    A party to the federal proceeding has made a timely motion for abstention.

   15A Moore's Federal Practice - Civil § 104.41 (2019); 1 Norton Bankr. L. & Prac. 3d § 4:40

   (2019); Whitney Nat'l Bank v. Lakewood Inv'rs, No. 11-0179-WS-B, 2011 U.S. Dist. LEXIS


   1
    § 1334(c)(2) does not set a time limit for moving for abstention. Some courts have required a moving party to
   move “as soon as possible.” Liberty Bank & Tr. Co. Successor v. Danley (In re Danley), 552 B.R. 871, 887 (Bankr.
   M.D. Ala. 2016) (6 months too late). Remand motions under § 1447(c), however, must be made within 30 days, and
   Lenders are well within that time frame. (No similar time limit is provided under § 1452(b)).

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   83775, at *16 (S.D. Ala. July 28, 2011); E.S. Bankest v. United Beverage Fla., 284 B.R. 162,

   171-72 (Bankr. S.D. Fla. 2002); Sago v. Wal-Mart Stores, Inc., 280 F. Supp. 2d 578, 587-88

   (S.D. Miss. 2003).

              All five mandatory abstention factors are met here: (1) The claims in the case are based

   on the Florida common law and its statutory law. (2) This proceeding is, at most, related to the

   Republic Bankruptcy, but in no way did it “arise in a bankruptcy case or under the Bankruptcy

   Code.” Indeed, Crowe admits that the claims in suit are non-core under 28 U.S.C. § 1572; see

   also Walker v. Commercial Credit Corp., 192 B.R. 260, 266 (M.D. Ala. 1996) (“Core

   proceedings are those proceedings which would not exist in law in the absence of the Bankruptcy

   Court”). (3) No other basis for federal jurisdiction applies—no federal question is presented and

   diversity does not exist given that Crowe is a multistate and multinational partnership, giving it

   the citizenship of all of its partners (Cadle Co. II v. Menchion, No. 16-10380, 2018 U.S. App.

   LEXIS 15069, at *8-9 (11th Cir. June 4, 2018)); (4) There is a pending state court action, i.e., the

   case that was removed and can be remanded. Christo v. Padgett, 223 F.3d 1324, 1331 (11th Cir.

   2000). (5) The state court has jurisdiction over the parties and can timely adjudicate the dispute.

   (6) Lenders have filed this motion to abstain and remand as soon as possible and within the 30

   days required for a remand motion under 28 U.S.C. § 1447(c).

              Because all the mandatory abstention conditions are satisfied, abstention is required, and

   the case must be remanded to the state court.

              B.        Permissive Abstention.

              Even if abstention were not mandatory, the Court should abstain and remand in its

   discretion.



   2
       ECF 1 at ¶ 32.

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            The two statutory sources for the Court’s authority to abstain permissively are 28 U.S.C.

   §§ 1334(c)(1) (discretionary abstention)3 and 1452 (equitable remand)4. Under these provisions,

   the Court may abstain and remand, in its discretion (In re Gober, 100 F.3d 1195 (5th Cir. 1996)),

   based on the following fourteen factors:

            (1) the effect, or lack of effect, on the efficient administration of the bankruptcy
            estate if discretionary abstention is exercised, (2) the extent to which state law
            issues predominate over bankruptcy issues, (3) the difficulty or unsettled nature of
            the applicable state law, (4) the presence of related proceedings commenced in
            state court or other non-bankruptcy courts, (5) the jurisdictional basis, if any,
            other than § 1334, (6) the degree of relatedness or remoteness of the proceedings
            to the main bankruptcy case, (7) the substance rather than the form of an asserted
            "core" proceeding, (8) the feasibility of severing state law claims from core
            bankruptcy matters to allow judgments to be entered in state court with
            enforcement left to the bankruptcy court, (9) the burden on the bankruptcy court's
            docket, (10) the likelihood that the commencement of the proceeding in
            bankruptcy court involves forum shopping by one of the parties, (11) the
            existence of a right to jury trial, (12) the presence in the proceeding of non-debtor
            parties, (13) comity, and (14) the possibility of prejudice to other parties in the
            action.

   E.S. Bankest, 284 B.R. at 176; 1 Norton Bankr. L. & Prac. 3d § 4:40 (listing 14 factors).

            The overwhelming majority of these factors favor permissive abstention. First, this case,

   which does not involve claims against the debtor, will not affect the efficient administration of

   the bankruptcy. Second, the claims are based on state law not bankruptcy law issues. Third, no

   other federal jurisdictional basis exists. Fourth, the claims are not core. Fifth, the Lenders did not

   engage in forum shopping, having selected the jurisdiction that has, by far, the most significant

   relationship to the dispute and that is the most convenient for witnesses and the defendants.

   Sixth, the Lenders have a right to a jury trial. Seventh, comity favors allowing Florida courts to



   3
     § 1334(c)(1) provides, in relevant part: “nothing in this section prevents a district court in the interest of justice, or
   in the interest of comity with State courts or respect for State law, from abstaining from hearing a particular
   proceeding arising under title 11 or arising in or related to a case under title 11.”
   4
     § 1452(b) provides, in relevant part: “[t]he court to which such claim or cause of action is removed may remand
   such claim or cause of action on any equitable ground.”


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   adjudicate cases under Florida law concerning misconduct by Florida residents. Eighth, no party

   will be prejudiced by litigating the case in state court in Florida.

          Similar factors for abstention existed in E.S. Bankest, 284 B.R. at 177, and the Court

   there found that abstention was warranted. See also Hayim v. Goetz (In re SOL, LLC), 419 B.R.

   498 (Bankr. S.D. Fla. 2009); Pritchard v. Johnson & Johnson, No. 19-01104-JKO, 2019 Bankr.

   LEXIS 2091 (Bankr. S.D. Fla. July 9, 2019); Peterson v. 610 W. 142 Owners Corp. (In re 610

   W. 142 Owners Corp.), 95 Civ. 3699 (JFK), 95 Civ. 9794 (JFK), 1999 U.S. Dist. LEXIS 6775, at

   *10-11 (S.D.N.Y. May 10, 1999), are in accord.

                                          III.    CONCLUSION

          Assuming for the purposes of this motion that subject matter jurisdiction exists under 28

   U.S.C. § 1334(a), on motion of the Lenders to remand, this Court is required to abstain and

   remand. Even if mandatory abstention did not apply, abstention in the Court’s discretion would

   be equitable.




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                                   CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that on the 7th day of August 2019, I electronically filed the
   foregoing document with the Clerk of the Court using the CM/ECF system. A copy of the
   foregoing document will be served this day on all counsel of record on the Service List below via
   transmission of Notice of Electronic Filing (NEF) generated by CM/ECF.

                                                             CERTIFICATION

                                                      Counsel for Plaintiffs certifies that he has
                                                      conferred with all parties who may be
                                                      affected by the relief sought in this motion in
                                                      a good faith effort to resolve the issues raised
                                                      in the motion and has been unable to do so.


                                                      Respectfully submitted,

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                               UNITED STATES DISTRICT COURT
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    BANK, and HAIN INVESTORS MASTER FUND,
    LTD.,
                   PLAINTIFFS,
    vs.
    CROWE LLP,
                   DEFENDANT.


                                               ORDER

           Defendant having removed the case from the Circuit Court of the 11th Judicial Circuit in
   and for Miami-Date County, Florida, pursuant to a Notice of Removal filed on July 25, 2019
   (FLSD Docket Doc. 1);

           Plaintiffs having timely moved for an order requesting that the Court abstain from
   exercising jurisdiction under 28 U.S.C. § 1334(c) and that the Court remand the case pursuant to
   28 U.S.C. § 1447(c) and § 1452(b), it is hereby

   ORDERED AND ADJUDGED as follows:

      1. The Court abstains from exercising subject matter jurisdiction;

      2. The case is remanded to the Circuit Court of the 11th Judicial Circuit in and for Miami-
         Dade County, Florida.

   DONE AND ORDERED this __ day of _________, 2019

                                                    _______________________________
                                                          Darrin P. Gayles
                                                          U.S. District Judge

    Copies Furnished:
    All Counsel of record
